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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT ILLINOIS
                                    EASTERN DIVISION

UNITED STATES SECURITIES AND                    )
EXCHANGE COMMISSION,                            )
                                                )
                          Plaintiff,            )            Case No. 1:10-CV-00115
        v.                                      )
                                                )            Hon. Robert M. Dow Jr.
STEVEN W. SALUTRIC,                             )
                                                )
                          Defendant.            )

                           RECEIVER’S REPORT OF DISTRIBUTION

        1.      On August 30, 2017, the Receiver made the following distribution pursuant to the

Order entered by this Court on August 28, 2017 [Dkt. No. 272]:

                                                              Allowed         Distribution
              Claimant                                        Amount           Amount
         1.   DGR Hardware 401k                             $ 22,500.00       $ 5,178.39
         2.   Birchmeier Homes Inc. 401k                    $ 71,071.95       $16,357.20
         3.   Mary Cullotta                                 $ 30,000.00       $ 6,904.50
         4.   Lucia Leck                                    $402,742.47       $92,691.10
         5.   Supreme Auto Transmission, Inc. Profit
              Sharing Plan                                  $ 47,103.00        $10,840.75
         6.   Estate of Chris M. Hrgich, Sr.                $ 94,762.61        $21,809.60
              Total Distribution                                              $153,781.54


August 30, 2017                                     Respectfully submitted,

                                                    IRA BODENSTEIN, not individually, but
                                                    solely as Receiver of Steven W. Salutric


                                                    /s/Ira Bodenstein
                                                    One of his attorneys

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